Case 7:18-cr-00027-MFU Document 120 Filed 01/12/21 Page 1of1 Pageid#: 479

CLERK'S ‘OF

 
 

Ors Se OS. DIST. COURT
\T ROANOKE, VA
IN THE UNITED STATES DISTRICT COURT JAN 1? 2020
FOR THE WESTERN DISTRICT OF VIRGINIA JULIA C. DUDLEY, gL
ROANOKE DIVISION y (anole
UNITED STATES OF AMERICA, _)
)
) Civil Action No. 7:18-CR-0027
v. )
)
ALFRED LLOYD ROBRECHT, ) By: Michael F. Urbanski
) Chief United States District Judge
Defendant )
ORDER

In accordance with the memorandum opinion entered today, the petitioner’s motion
for expungement, ECF No. 108, and the related motion to proceed under a pseudonym and
to seal identifying documents, ECF No. 118, are DENIED.

It is so ORDERED.

Entered: Ol- (2 —20Aa/(

\ne Ys—_——

Michael F. Urbanski
Chief United States District Judge
